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                      UNITED STATES COURT OF APPEALS
                           FOR THE NINTH CIRCUIT
                         Form 6. Representation Statement
     Instructions for this form: http://www. ca9.uscourts.govlformslform06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use "et al." or other abbreviations.)
  Name(s) of party/parties:
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I

Name(s) of counsel (if any):
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Is counsel registered for Electronic Filing in the 9th Circuit?                         (i Yes      r No
Appellee(s) (List only the names ofparties and counsel who will oppose you on appeal. List

Name(s) of party/parties:
separately represented parties separately.)


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To list additional parties and/or counsel, use next page.
                   Feedback or questions ah out this form? Email us at forms@ca9 uscourts gov
                                                                                                   Exhibit B Page 1
Form6                                                  1
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